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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

PABLO STAR LTD.,

                        Plaintiff,

                v.                               Civil Action No. 15-CV-1167

THE WELSH GOVERNMENT, et al.,

                        Defendants.

                         MOTION FOR ADMISSION PRO HAC VICE

          Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern

District of New York, I, Caroline C. Maxwell, hereby move this Court for an Order for

admission to practice Pro Hac Vice as counsel for The Welsh Government, Gracenote (d/b/a

Tribune Media Service), Pittsburgh Post-Gazette, E.W. Scripps Co., Richmond Times Dispatch,

and Miami Herald Media Co. in the above-captioned action.

          I am in good standing of the bar of the state of Texas and there are no pending

disciplinary proceedings against me in any state or federal court.


Dated: April 28, 2015                         Respectfully submitted,

                                              /s/ Caroline C. Maxwell_________
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